Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 1 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 2 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 3 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 4 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 5 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 6 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 7 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 8 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                          Document Page 9 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 10 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 11 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 12 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 13 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 14 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 15 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 16 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 17 of 18
Case:12-00313-EAG7 Doc#:47 Filed:07/22/12 Entered:07/22/12 20:52:39   Desc: Main
                         Document Page 18 of 18
